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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JOSEPH ROBERT SHARPE
6
7
                                IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   Case No. 2:14-cr-043 GEB
                                                  )
11                          Plaintiff,            )   STIPULATION AND [PROPOSED] ORDER
                                                  )   TO CONTINUE STATUS CONFERENCE
12         v.                                     )
                                                  )
13   JOSEPH ROBERT SHARPE,                        )   Date: May 19, 2017
                                                  )   Time: 9:00 a.m.
14                          Defendant.            )   Judge: Hon. Garland E. Burrell, Jr.
                                                  )
15
16          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
17   Attorney, through Amy Hitchcock, Assistant United States Attorney, attorney for Plaintiff, and
18   Heather Williams, Federal Defender, through Assistant Federal Defender Benjamin D.
19   Galloway, attorneys for Joseph Sharpe, that the status conference scheduled for May 19, 2017, at
20   9:00 a.m., be vacated and the matter continued to June 16, 2017, at 9:00 a.m., for further status

21   conference, as to defendant Joseph Robert Sharpe, only.

22          This continuance is necessary to allow the defense additional time to review discovery,

23   investigate the facts of the case, analyze relevant law and application of the Sentencing

24   Guidelines, and hold discussions in furtherance of a negotiated resolution.
            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
25
     excluded of this order’s date through and including June 16, 2017; pursuant to 18 U.S.C. §3161
26
     (h)(7)(A) and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based
27
     upon continuity of counsel and defense preparation.
28

      Stipulation and Proposed Order                  -1-
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1             Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.
4    DATED: May 16, 2017
                                                   Respectfully submitted,
5
6                                                  HEATHER E. WILLIAMS
                                                   Federal Defender
7
                                                   /s/ Benjamin D. Galloway
8                                                  BENJAMIN D. GALLOWAY
                                                   Assistant Federal Defender
9                                                  Attorney for JOSEPH ROBERT SHARPE
10
11   DATED: May 16, 2017                           PHILLIP A. TALBERT
                                                   United States Attorney
12
                                                   /s/ Amy Hitchcock
13                                                 AMY HITCHCOCK
                                                   Assistant U.S. Attorney
14                                                 Attorney for Plaintiff
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      Stipulation and Proposed Order                 -2-
      Case 2:14-cr-00043-KJM Document 270 Filed 05/18/17 Page 3 of 3


1                                                  ORDER
2           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence.     The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendants in a speedy trial.
8           The Court orders the time from the date the parties stipulated, up to and including June
9    16, 2017, shall be excluded from computation of time within which the trial of this case must be
10   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv)
11   [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It is further
12   ordered the May 19, 2017 status conference, as to defendant, Joseph Robert Sharpe, shall be
13   continued until June 16, 2017, at 9:00 a.m.
14   Dated: May 17, 2017
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      Stipulation and Proposed Order                 -3-
